Judgments and decrees must be construed in reference to the pleadings. Where a judgment standing alone does not contain a sufficient description of realty, but the pleadings in connection therewith fully describe the land, such judgment will not be held to be void as against a plea of res judicata. Accordingly, where a successor in title of one party to a previous suit sues the other to recover the land, and the issue of res judicata is raised, and the judgment relied upon to sustain the issue does not contain a sufficient description of the land, but a definite description is set forth in the pleadings upon which the judgment is predicated, and where the judgment discloses a consent decree, the effect of which is to vest in one party the title to the land subject to a life interest in a portion thereof to the other party, the court did not err in finding that the issues raised had been adjudicated in previous litigation and in denying the relief sought.
                       No. 15047. JANUARY 5, 1945.
In February, 1944, J. R. Bentley Jr. filed a petition in Walton superior court against D. D. Still, which alleged in substance, that he was the owner of a certain described tract of land containing *Page 744 
137 acres, and that his possession was being interfered with by Still, who claimed title thereto, but that the deeds under which he asserted title were void. The prayers were: (a) that Still be enjoined from interfering with the petitioner's possession; (b) that the claim of title held by Still be cancelled as a cloud upon the petitioner's title; and (c) for process. Still filed an answer denying the material allegations of the petition, and alleging that the exact question raised by the petition had been previously adjudicated in stated cases.
At the trial, Bentley introduced evidence in support of his petition. His title to the land was predicated upon a deed to him executed in January, 1944, by his father, J. R. Bentley. In defense, Still introduced the record of two former suits involving the title to the land in question, to wit: (a) A suit filed October 30, 1939, by J. R. Bentley "in his representative capacity as the only living beneficiary of a homestead allowed him as head of a family" against D. D. Still, in which it is alleged that Still had taken possession of land set apart to J. R. Bentley in 1914 as a homestead for the benefit of his wife and children. A copy of the proceedings to set aside the homestead were attached. It was alleged that his wife had died, and his children had reached their majority. The suit was for the recovery of 137 acres of land described in the homestead proceedings. (b) Before the foregoing suit was adjudicated, Still, on August 19, 1940, filed a petition against J. R. Bentley, alleging that Bentley was interfering with his ownership, possession, and efforts to farm the land, and praying for process, injunction, and general relief. On January 11, 1941, while the two foregoing suits were pending, both parties agreed to and signed a consent judgment of the court as follows: "It appearing that the parties in the various cases pending between J. R. Bentley and D. D. Still have agreed on a settlement of all litigation between them and that the agreement is as follows: That J. R. Bentley, as long as he lives is to be allowed to occupy the house he now resides in and to have all the land between the land and the river and all land on the river, which is now in cultivation for said J. R. Bentley's personal crop to be farmed as he pleases, except that he is to plant at least the upper half of the bottoms in a legume which must be left on the ground. That in consideration of this, said J. R. Bentley is not to interfere with said D. D. *Page 745 
Still, nor his tenants or employees in his use of the balance of said place or the rest of said buildings. Said J. R. Bentley is to have sufficient pasture for his stock and sufficient firewood for his personal use. Said D. D. Still agrees to cover the 1/2 of the T-part of the house in which J. R. Bentley now resides. It appearing to the court that both parties have agreed to this, same is hereby made the order of this court, and both parties are hereby ordered to comply with same."
At the conclusion of the evidence, the court rendered the following judgment: "After considering pleadings and evidence submitted in the above-stated case, and it appearing that these same issues were raised in the case of D. D. Still vs. J. R. Bentley, No. 2872, Walton superior court, and in case of J. R. Bentley beneficiary of homestead vs. D. D. Still, No. 2793, Walton superior court, and were adjudicated by a consent decree signed by the judge of the superior court, Western Circuit, on January 11, 1941, it is therefore ordered and adjudged that the prayers of the petition and the relief sought therein be denied. Ordered that the injunctive features of the above-mentioned decree, signed on January 11, 1941, are to remain in full force and effect, and the decree entered therein is not modified by this order."
As part of the record in the instant case, there is evidence of other previous suits in connection with the title to the land here involved. These suits were prior to the two suits herein referred to, and are also asserted as a prior adjudication of the issues in the present case. In view of the decision herein rendered, it is not necessary to relate their contents.
J. R. Bentley Jr. excepted to the above judgment, and brought the case to this court by direct bill of exceptions.
(After stating the foregoing facts.) The homestead in the 137 acres, set apart in 1914 to J. R. Bentley for the benefit of his wife and children, came to an end at the death of his wife in 1935, at which time all of his children had attained their majority. The property then became disencumbered of the charge imposed upon it. Gresham v. Johnson, 70 Ga. 631;Rutledge v. McFarland, 75 Ga. 774; McDuffie v.Irvine, 91 Ga. 748, 750 (17 S.E. 1028); Crowley v.Freeman, 9 Ga. App. 1 (2) (70 S.E. 349). *Page 746 
The title of J. R. Bentley Jr., the plaintiff in error, is predicated upon a deed from his father, J. R. Bentley, executed January 20, 1944. The record shows that during the years 1939 and 1940, after the termination of the homestead, the petitioner and the defendant were parties or privies in estate in the cases of J. R. Bentley against D. D. Still and vice versa, in which each claimed title to the land in question, and on January 11, 1941, they settled the issues growing out of these cases by entering into an agreement, as shown in the statement of facts, which by consent was made a decree of the court. "A judgment of a court of competent jurisdiction shall be conclusive between the same parties and their privies as to all matters put in issue, or which under the rules of law might have been put in issue in the cause wherein the judgment was rendered, until such judgment shall be reversed or set aside." Code, § 110-501. It is urged, however, that the consent decree was void for want of any description or for want of any words to furnish a key to any description of the lands so the decree could be enforced by the court. Judgments and decrees must be construed in reference to the pleadings. Stanfield v. Downing Co., 186 Ga. 568
(199 S.E. 113). The pleadings on which the consent decree is based are in the record. When the pleadings are examined, it is seen that J. R. Bentley was seeking to recover from D. D. Still the identical land which had been set apart as a homestead. A copy of the homestead proceedings, attached as an exhibit, gave a complete description of the property. When the consent judgment is construed with reference to the pleadings, all doubt as to description is removed. The consent judgment, in effect, defined the interests of the parties as follows: The title to the land involved was decreed to be in D. D. Still subject to a life-estate in J. R. Bentley to certain portions of the land, with one or two other specified features added. The effect of this was to adjudicate that, subject to the life-estate in favor of J. R. Bentley in a portion of the land, the title was in D. D. Still. It follows that the trial judge did not err in denying the relief sought in the instant case, because the same issues were adjudicated in the consent decree. This disposes of the case adversely to the plaintiff in error, who subsequently purchased the land from J. R. Bentley.
Judgment affirmed. All the Justices concur. *Page 747 